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 6
 7                                      U.S. DISTRICT COURT

 8                         NORTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                         )   Case No.: 3:17-cr-00533-3 EMC (LB)
                 Plaintiff,                           )
11                                                    )    REPLY TO RESPONSE TO NOTICE OF
12              vs.                                   )    FALSE TESTIMONY BY ATF
                                                      )    INTELLIGENCE OPERATIONS
13   RUSSELL LYLES JR.,                               )    SPECIALIST SCHEETZ
14            Defendant.                              )

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16
                                               Introduction
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            For the reasons explained in his Notice, counsel for Defendant Lyles opted not to
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     participate in the cross-examination of proposed enterprise expert Scheetz, but Lyles joined
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     the joint post-hearing objections filed by counsel for defendant Wendt. Because he did not
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     participate in the cross-examination of Scheetz -- and because he believes the notice of
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     Scheetz’s false testimony merely illustrates in extreme form the grounds articulated in the
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     joint objections for excluding opinion testimony by Scheetz as unreliable, counsel for
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     defendant Lyles does not intend to argue at the hearing. But he is prepared to answer any
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     questions the Court might have about the Shasta/Bobby T. issue -- and, given the definite
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     possibility that specialist Scheetz knowingly testified falsely, he requests that the Court
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     consider recalling specialist Scheetz for an evidentiary hearing on this issue.
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            Lyles is filing this reply to highlight briefly several critical factual and legal flaws in the
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     government’s mea culpa. Rather than frankly admitting the indisputable fact that Scheetz’s
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 1   testimony was false, the government suggests he was merely mistaken -- but without offering
 2   any evidence that Scheetz’s false testimony was, in fact, merely a mistake rather than an
 3   intentional and knowing misstatement.
 4           Rather than acknowledging that, based on the evidence it disclosed to the defense
 5   before the hearing, it knew or should have known, at a minimum, that Scheetz’s clear,
 6   emphatic and repeated assertions Jorge Gil Blanco told him the Shasta charter was frozen
 7   because its members failed to retaliate for the shooting of Bobby T. was false, the
 8   government tries to suggest it should be excused because:
 9          If the prosecution “should have known” about Scheetz’s factual error, so too
            should have the defense. But none of the defense counsel raised this issue
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            during the hearing. (Resp. 6-7.)
11          The problems with this excuse are: 1) the government -- not the defense -- offered
12   Scheetz as its enterprise expert and vouched for his reliability; 2) it is reasonable for the
13   court to presume the government had knowledge of the evidence it disclosed to the defense;
14   and 3) the fact that defense counsel did not alert the government to the falsity of Scheetz’s
15   testimony at the hearing does not change the fact it was false -- or the significance of the fact
16   that it was false. The government’s attempt to explain away Scheetz’s indisputably and
17   uncorrected false testimony also ignores the fact that Scheetz repeated the false explanation
18   of the motion to freeze the Shasta charter and the claim that it was based on what Jorge Gil
19   Blanco told Scheetz multiple times without hesitation in response to direct questions from
20   the court -- and that the government highlighted his false testimony as an example of
21   “compare & contrast,” the method Scheetz claims to use to ensure that information he relies
22   on is reliable and to form opinions.
23          With regard to what defense counsel knew: When Scheetz suddenly offered the
24   Bobby T. theory in response to a question from the Court, Tr. at 157, some defendants’
25   counsel were immediately aware -- as the government should have been -- that Gil Blanco
26   had offered an entirely different explanation for the motion to put Shasta members up for
27   their patches. But defense counsel had no obligation to offer specialist Scheetz an
28   opportunity to correct his “mistake.” And, instead of filing a notice of false testimony,
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 1   counsel for defendant Lyles would have left the record as it was until trial but for two things.
 2   First, a motion by defendant Cesena to exclude Scheetz’s testimony on Crawford grounds;
 3   and second, further research into the Bobby T. shooting. Before conducting that research,
 4   counsel had know knowledge as to the date that Bobby T. was allegedly shot, or the facts.
 5   And it was only then that counsel realized the Bobby T. explanation Scheetz offered was not
 6   only “mistaken” it was impossible.
 7          In its notice, the government now attempts to minimize Scheetz’s false testimony by
 8   claiming the Bobby T. shooting supports Scheetz’ opinion. However, as the Court obviously
 9   recognizes, there is no evidence in the record concerning the Bobby T. shooting except for
10   Scheetz’s false and impossible testimony. Counsel for Lyles has made a detailed request for
11   discovery of the information which evidently originated with ATF Los Angeles -- not Gil
12   Blanco -- regarding that shooting. By itself, the fact that a member of the Mongols shot
13   Bobby T. does not prove anything regarding the Sonoma charter. In contrast, however, the
14   fact there was -- according to ATF Los Angeles -- no retaliation by the Hells Angels for the
15   shooting would seem to disconfirm some of Scheetz’s assertions. Based on counsel’s
16   knowledge of both the Laughlin case and the ATF Los Angeles infiltration of the Mongols
17   around the time of the Bobby T. shooting, it is also possible that the reason the ATF Los
18   Angeles evidently had substantial knowledge of the shooting and lack of retaliation was
19   because one or more of the individuals arrested based on the Bobby T. shooting were ATF
20   Los Angeles “undercovers,” cooperators or informants. These are questions that can only be
21   answered after the government provides the discovery that counsel for Lyles has requested.
22          For obvious reasons, the government goes to great lengths to deny that it committed
23   a Napue violation. But that issue is not before the Court because Defendant Lyles has not
24   asked for any sanctions against the government except that the false testimony should be
25   considered as evidence of Scheetz’s unreliability. Nevertheless, he submits the government’s
26   claim it did not know what was in evidence it disclosed -- i.e. Gil Blanco’s opinion -- raises
27   larger issues about the care and diligence with which the government has developed its case.
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 1          Finally, assuming Scheetz was merely mistaken is significant regardless of whether he
 2   intentionally lied, as counsel for Lyles reasonably believes might be proven at an evidentiary
 3   hearing. The reasons are already explained in the joint defense post-hearing objections,
 4   which will be argued at the hearing.
 5   DATED: September 23, 2020
 6                                          Respectfully submitted,
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                                                   /s/ Michael Clough__________
 8                                                 MICHAEL CLOUGH
 9                                                 Attorney for Defendant
                                                   RUSSELL LYLES Jr.
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